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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO


 JAIMEE DYE,
                                                 Case No.
             Plaintiff,

 v.                                              COMPLAINT AND DEMAND FOR JURY
                                                 TRIAL
 IDAHO STATE POLICE, an Administrative
 Agency of the State of Idaho, and
 JOHN/JANE DOES I-V, whose true
 identities are unknown,

             Defendants.


       COMES NOW, Plaintiff Jaimee Dye, by and through her attorney of record, Shawnee

Perdue of the law firm of Johnson & Monteleone, L.L.P., and for causes of action against the

above-named Defendants, hereby complains and alleges as follows:

                                    NATURE OF CLAIMS

      1.        Plaintiff seeks redress for the Defendants' conduct in discriminating against her

on the basis of sex in violation of Title IX, 20 U.S.C. § 1681, et seq., and under 42 U.S.C. §

1983 for violating her rights under the Equal Protection Clause of the United States

Constitution.



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                            PARTIES, JURISDICTION, AND VENUE

         2.       Ms. Dye is a citizen of the State of Idaho, and is currently residing in Kuna,

Idaho. She has been employed by ISP since 2017 as a dispatcher.

         3.       ISP is an executive department of the State of Idaho, created pursuant to I.C. § 67-

2901, which is tasked with, among other things, "enforcing all of penal and regulatory laws of

the state [of Idaho]."

         4.       Idaho Peace Officers Standards and Training ("POST") is a division within ISP,

and exists pursuant to I.C. § 19-5102, which established the Idaho peace officers standards and

training council "in the Idaho state police."

         5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331.

         6.       Venue is proper with this Court pursuant to 28 U.S.C. § 139l(b), because all of

the employment practices alleged to be unlawful were committed within the jurisdiction of this

Court.

                                    FACTUAL ALLEGATIONS

         11.      Ms. Dye first worked for ISP as a dispatcher from 1998 until 2000.

         12.      She then went to work for the Twin Falls Police Department, first as a

Community Service Officer and then as a dispatcher, from 2000 until 2005.

         13.      Ms. Dye then became POST certified as a police officer, and was employed by

the Meridian Police Department as a police officer from 2005 and 2016.

         14.      During the period that she worked in law enforcement Ms. Dye earned seven

different POST certifications, including the Instructor and Master. The instructor certificate was

awarded after Ms. Dye had completed a week long instructor development course and a second

course in her area of expertise, received a recommendation from her agency, developed a course

curriculum and then successfully taught it to a group of students.


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       15.      The Instructor development program and certificate taught Ms. Dye the very skills

she would need to be a successful Training or Curriculum coordinator. The Master Certificate is

the highest certificate a law enforcement officer who is not a supervisor can earn in Idaho. In

addition, Ms. Dye had been a very successful Field Training Officer who was repeatedly praised

for her work.

       16.      Ms. Dye also attended more than 20 different law enforcement trainings since

2002, including the Idaho POST Instructor Development Course, and has assisted with and/or

instructed six different training courses to various law enforcement agencies in Idaho, including

two courses at POST.

       17.      The Idaho POST Instructor Development Course is only opened to applicants

with at least three (3) years of law enforcement experience. This course covers topics such as

adult learning, building thinking skills in students, assessing student understanding of class

materials, and writing lessons plans. These are the direct skills that were required in the

Coordinator I position Ms. Dye has applied for but been rejected. In addition, Ms. Dye has been

either the primary or secondary instructor on six (6) separate training courses given to various

laws enforcement agencies in Idaho, including two courses at POST.

       18.      Because of an on-the-job injury Ms. Dye was no longer able to work as a police

officer and in 2017 she was rehired by ISP as a dispatcher, the position she currently occupies.

Throughout her employment with ISP she has received consistently positive performance

evaluations.

       19.      Since April 2017, Ms. Dye has repeatedly applied for the position of Coordinator

1, an entry level position at POST, six (6) different times. Four (4) of these positions were for

Training Coordinator I, and two were for Curriculum Coordinator I. She applied for these

positions as follows:


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       a.      Training Coordinator I - October 2017

       b.      Curriculum Coordinator I - February 2018

       c.      Training Coordinator I - September 2018

       d.      Training Coordinator I - February 2019

       e.      Curriculum Coordinator - April 2019

       f.      Training Coordinator I - May 2019

      20.      Despite being qualified for each position she applied for, ISP refused to hire Ms.

Dye for any of the positions. In fact, Ms. Dye was the most qualified and she had some of the

highest test scores for the positions for which she applied.

      21.      Although these are entry level positions, they would have been a promotion for

Ms. Dye as they paid more per hour and, even more importantly, would have made her eligible

to again participate in the more favorable PERSI retirement system available to law enforcement

personnel. These positions would have also had a day time schedule that would have allowed

her to spend more time with her family.

      22.      Nonetheless, POST refused to select Ms. Dye for any of the positions she applied

for in 2017, 2018, and 2019. Most of these positions were offered to equal or lesser qualified

male candidates.

      23.      In January of 2018, Ms. Dye raised her concerns with Human Resources and John

Morton, the Training Academy Manager, about why she was not hired for the Training

Coordinator position. Ms. Dye was told that it was because she lacked supervisory experience,

however such experience was not required for the job as it was an entry level position. During

the meeting Mr. Morton was condescending towards Ms. Dye and refused explain what skill or

experience she could acquire that would make her qualified for the position.




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      24.        ISP then attempted to disqualify Ms. Dye from applying from any other similar

positions by attempting to write her up based on false allegations that she said negative things

about her boss. ISP also failed to place Ms. Dye’s comments contesting the allegations in her

file. Ultimately the effort to disqualify Ms. Dye was unsuccessful. ISP told Ms. Dye that the

write up wasn't disciplinary, and did not mention it during Ms. Dye's annual performance

evaluation last year.

      25.        Around May or June 2018, Ms. Dye requested a meeting with ISP Colonel Ked

Wills (the head of ISP) to discuss why she was not being hired. She described to him how she

had tested and interviewed for two positions, and that POST refused to hire her despite her

qualifications. Colonel Wills ensured her there was no reason and blamed it on "new managers."

      26.        In September of 2018, POST again advertised for a Training Coordinator I

position.     Ms. Dye again applied and scored a 95% on the written test, which based on

information and belief, was again either the highest or one of the highest scores of all the

applicants.

      27.        However, after taking the test, Ms. Dye learned that POST had already conducted

interviews for the position and wasn't going to even interview her.

      28.        Ms. Dye then contacted HR and asked why she wasn't going to be interviewed.

HR told her that Morton had decided not to interview her.

      29.        Upon information and belief, it is alleged that by refusing to interview her, POST

and Mr. Morton not only discriminated against Ms. Dye, but also violated ISP policy which

requires that all qualified individuals who score well on the initial test and are qualified must be

interviewed.

      30.        POST then offered the position to two less qualified male applicants




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      31.      POST then offered the Training Coordinator I position to a second male applicant.

On information and believe it is alleged that he was also unable to pass the polygraph test and

was disqualified.

      32.      In January of 2019, POST sent Ms. Dye an annual form which asked her to attest

that she had not been discriminated against. Ms. Dye filled out the form truthfully stating that

she believed she had been discriminated in the hiring process for the Coordinator positions.

      33.      After Dye complained of gender discrimination in January 2019, ISP continued to

discriminate and retaliate against Ms. Dye by her application for Training Coordinator I position

in February, 2019, The Curriculum Coordinator I position in April 2019, and the Training

Coordinator I Position in May 2019.

      34.       Despite her numerous requests, Ms. Dye was denied permission to attend the

supervisor training. Ms. Dye was also denied training in radio procedures despite her request.

ISP retaliated against Ms. Dye by placing her a night shift, despite her being scheduled for day

shift, and allowed a male employee with less seniority to remain on day shift.

      35.      ISP continued to retaliate against Ms. Dye in April of 2020 by informing her that

her ADA reasonable accommodation request was insufficient and changing the essential function

of her job to make it seem as though she could not perform an essential function of her job.

      36.      As a result of Defendants’ actions and inactions, Ms. Dye suffered severe

emotional distress including depression, anxiety, loss of appetite, and inability to sleep.

                                          COUNT ONE

             GENDER DISCRIMINATION/ SEXUAL HARASSMENT
    IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 42 U.S.C.
                       2000(e) ET SEQ. AS AMENDED

       1.      Ms. Dye incorporates herein by reference all the foregoing and following

allegations of the Complaint.


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       2.      Under the provisions of Title VII of the Civil Rights Act of 1964, Ms. Dye is a

covered employee, an ISP is an employer with over fifteen employees, is a covered entity.

       3.      ISP, through the acts of the above-mentioned individuals throughout Ms. Dye’s

employment, discriminated against because of her gender.

       4.      The wrongful treatment concerning Ms. Dye’s terms and conditions of

employment by ISP violated Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000€, et seq.,

and constituted gender discrimination.

       5.      ISP committed the acts alleged, or failed to act as reasonably required,

maliciously, fraudulently, and oppressively, with the wrongful intention of injuring Ms. Dye

from an improper and evil motive amounting to malice, and in conscious disregard of Ms. Dye’s

rights. Ms. Dye may thus recover punitive damages from ISP in amount to be proven at trial.

       6.      Ms. Dye is entitled to recover damages, including back and front pay and lost

benefits, compensatory and punitive damages, and attorney fees because of ISP’s discriminatory

conduct.

       7.      Ms. Dye is further entitled to recover attorney fees and costs incurred in

prosecuting this action pursuant to Title VII of the Civil Rights Act of 1964 and the Idaho

Human Rights Act.

                                         COUNT TWO

RETALIATION IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                  42 U.S.C. 2000(e) ET SEQ. AS AMENDED

       8.      Ms. Dye incorporates herein by reference all the foregoing and following

allegations of the Complaint.

       9.      Ms. Dye reported her discriminatory treatment several times to her supervisors at

ISP. Ms. Dye was subjected to condescension, adverse or unfavorable changes to the terms and



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conditions of her job, and repeatedly and intentionally overlooked for positions she applied.

         10.      Ms. Dye engaged in protected activity by reporting her discrimination to her

supervisors, human resources, and the Idaho Human Rights Commission.

         11.      ISP wrongfully retaliated against Ms. Dye for engaging in protected activity

violation of Title VII of the Civil Rights Act of 1964.

         12.      ISP created a hostile working environment by taking such discriminatory and

retaliatory actions against Ms. Dye referenced above.

         13.      ISP wrongfully retaliated against Ms. Dye by taking adverse employment action

against her for engaging in protected activity.

         14.      ISP committed the acts alleged, or failed to act as reasonably required,

maliciously, fraudulently, and oppressively, with the wrongful intention of injuring Ms. Dye

from an improper and evil motive amounting to malice, and in conscious disregard of Ms. Dye’s

rights. Ms. Dye may thus recover punitive damages from Defendants in amounts to be proven at

trial.

                                   CLAIM FOR ATTORNEY FEES

         1.       Plaintiff has been required to retain the services of Johnson & Monteleone, L.L.P.

to prosecute this action and is thus entitled to recover reasonable attorney fees in accordance

with Idaho Code and/or other provisions of law.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

    1.         For Plaintiff’s special and general damages in amounts which may be proven at trial;

    2.         For costs of suit incurred herein;

    3.         For reasonable attorney fees to be determined by the Court; and

    4.         For such other relief as the Court deems just and proper.


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             28th day of July, 2020.
DATED: This _____

JOHNSON & MONTELEONE, L.L.P.


________________________________
Shawnee S. Perdue
Attorneys for Plaintiff




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                                  DEMAND FOR JURY TRIAL

        Pursuant to I.R.C.P. 38(b), Plaintiff hereby demands a trial by jury on any and all issues

properly triable by jury in this action.



             28th day of July, 2020.
DATED: This _____

JOHNSON & MONTELEONE, L.L.P.


_______________________________
Shawnee S. Perdue
Attorneys for Plaintiff




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